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               Exhibit 4
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                            EVIDENCE OF USE FOR U.S. PATENT NO. US6510148

Title: Selective discontinuous transmission for high speed data services in CDMA multi-channel
     configuration
Application No.: US09/694,698
Filing Date: 2000-10-23
Issue Date: 2003-01-21


Accused Product/Standard:




                                                     Source: https://www.pdevice.com/product/zte-atrium-price-specs




                                                     Source: https://www.devicespecifications.com/en/model/848c3d4c




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Source: https://www.cnet.com/products/zte-z793c-black-3g-4-gb-cdma-smartphone/


Evidence of Use
Claim Language                                                    Evidence of Infringement

1. A method for operating    ZTE Z793C smart phone supports CDMA 2000 technology. As shown in the screenshot attached
a mobile station having an   below, ZTE Z793C was sold at a price of 45 USD therefore it can be inferred that the given model
output power limit, the      was available in the US markets. The 3GPP2 C.S0002-E standard is a Physical layer standard for
method comprising the        CDMA2000 spread spectrum system. The specification provides a method of power control at
steps of:                    mobile station.




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Claim Language                                          Evidence of Infringement




                   Source: https://www.cnet.com/products/zte-z793c-black-3g-4-gb-cdma-smartphone/




                   Source: https://www.pdevice.com/product/zte-atrium-price-specs




                   Source: https://www.devicespecifications.com/en/model/848c3d4c




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Claim Language                                                   Evidence of Infringement




                            Source: 3GPP2 C.S0002-E v3.0, at page 87, 98 & 100 of 568.


establishing a wireless     The specification allows the establishment of a wireless data communication from the transmitter
data communication from     of the mobile station to the receiver of the base station at a predetermined data rate
a transmitter of the        simultaneously through at least one data channel. For example, a wireless data communication is
mobile station to a
                            established between the mobile station and the base station through the reverse fundamental
receiver of the base
station at a                channel and reverse supplemental code channel (“at least one data channel”) at predetermined
predetermined data rate     data rates.
simultaneously through at
least one channel;




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Claim Language                                                     Evidence of Infringement




                                                                                                                         Sourc
                             e: 3GPP2 C.S0002-E v3.0, at page 67 & 68 of 568.




                                                                                                                        :
                             Source: 3GPP2 C.S0002-E v3.0, at page 302 & 279 of 568.


receiving a command          The specification allows the reception of a command by the mobile station to increase the power
from the base station to     of a transmission from the mobile station transmitter. For example, the transmission of power
increase a transmission      control bits (“command”) from the base station towards the mobile device via Forward Power
power of the mobile          Control Subchannel signals the mobile station to increase or decrease transmit power. Depending
station transmitter;         on the power control bits, the mobile station increases or decreases its output power. A ‘0’ power
                             control bit implies an increase in transmit power and a ‘1’ power control bit implies a decrease in
                             transmit power.




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Claim Language                                          Evidence of Infringement




                   Source: 3GPP2 C.S0002-E v3.0, at page 65, 458 & 459 of 568.




                   Source: 3GPP2 C.S0002-E v3.0, at page 463 of 568.




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Claim Language                                                      Evidence of Infringement




                              Source: 3GPP2 C.S0002-E v3.0, at page 99, 100 of 568.




determining in the mobile     The specification allows the mobile station to determine if the increased transmission power will
station if the increased      exceed a transmission power threshold value. For example, the mobile device provides a closed
transmission power on at      loop adjustment range greater than 24 dB around its open loop estimate and also the output
least one data channel
                              power should not be more than defined by parameter TX_PWR_LIMITs (“transmission power
will exceed the output
power limit of the mobile     threshold value”).
station;




                              Source: 3GPP2 C.S0002-E v3.0, at page 99, 100 of 568.




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Claim Language                                                      Evidence of Infringement




                              Source: 3GPP2 C.S0002-E v3.0, at page 87, 98 & 100 of 568.

if so, reducing the data      The specification allows the mobile device to reduce the data rate by disabling data transmission
rate by disabling data        through the at least one of the at least one data channel to increase the transmission power of
transmission through at       any of the at least one data channel that carry data transmission. For example, the mobile device
least one of the at least
                              increases the transmission power by discontinuing the data transmission through at least one
one data channel;
increasing the                active reverse supplemental code channel (“at least one data channel”).
transmission power on
any of the at least one
data channel that carry
data transmissions after
the step of reducing the
data rate is performed;



                              Source: 3GPP2 C.S0002-E v3.0, at page 98 & 100 of 568.




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Claim Language                                                    Evidence of Infringement

                            External Source: https://www.mpirical.com/glossary/reverse-supplemental-code-channel


receiving a command         The specification allows the mobile device to receive the command from the base station to
from the base station to    increase the power of transmission from the mobile station. For example, the mobile station
decrease the transmission   receives a power control bit (“command”) from the base station which indicates the mobile station
power of the mobile         to increase its output power level.
station;




                            Source: 3GPP2 C.S0002-E v3.0, at page 65, 458 & 459 of 568.




determining in the mobile   As per the claim limitation, if the base station instructs the mobile station to reduce power, then
station if the decreased    the mobile should increase the data rate through the data channel on which the communication



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Claim Language                                                     Evidence of Infringement

transmission power,            was previously reduced/discontinued.
assuming that a disabled
data channel were once         The specification provides a reference where the transmissions on the supplemental code channel
more enabled, will not         are discontinued if the output power of the mobile station exceeds the limits. Thus, at this point,
exceed the output power        only the fundamental channel is activated. Since the mobile station increases the transmission
limit of the mobile station;   power by disabling communication on supplement code channel i.e., lowering the data rate
if so, increasing the data     (because requested transmission power exceeded the limits), this implies that there is inverse
rate by enabling data          relationship between the data rate and transmission power of the mobile station.
transmission through at
least one previously           Accordingly, upon receiving a command to lower the transmission power to bring the power within
disabled data channel;         the threshold limits, any application at the mobile station which requires higher data rates that
and                            cannot be fulfilled by the fundamental channel alone would result in resumption of the
decreasing the                 communication on the supplemental channel to meet the higher data rate demand imposed by
transmission power on          the application.
any of the at least one
data channel that carry
data transmissions after
the step of increasing the
data rate is performed.




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Claim Language                                        Evidence of Infringement




                   Source: 3GPP2 C.S0002-E v3.0, at page 65, 98 & 100 of 568.




                   Source: 3GPP2 C.S0002-E v3.0, at page 68 of 568.




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